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                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                               WESTERN DISTRICT OF MISSOURI
                                                 SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                 Case No.: 10-5018-01-CR-SW-RED

ROBERTO RODRIGUEZ

                                                                     USM Number: 22078-045

                                                                     Richard Monroe, Retained
                                                                     901 St. Louis Street, Suite 107
                                                                     Springfield, MO 65806-2511
___________________________________

                                                JUDGMENT IN A CRIMINAL CASE


The defendant was found guilty on March 4, 2011, to 1s, 2s, 3s, 4s, and 6s and the forfeiture allegations of the Superseding
Indictment. Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                  Date Offense                 Count
       Title & Section                         Nature of Offense                   Concluded                 Number(s)

 21 U.S.C. 841(a)(1),            Conspiracy to Distribute 50 Grams or More      February 01, 2010                 1s
 841(b)(1)(B), and 846           of Methamphetamine

 18 U.S.C. 922(g)(1),            Possession of a Firearm by a Prohibited        December 7, 2009                  2s
 922(g)(3), and 924(a)(2)        Person

 21 U.S.C. 841(a)(1),            Possession With Intent to Distribute 50        February 1, 2010                  3s
 841(b)(1)(B), and 18.           Grams or More of Methamphetamine
 U.S.C. 2

 18 U.S.C. 922(g)(1),            Possession of a Firearm by a Prohibited        February 1, 2010                  4s
 922(g)(3), and 924(a)(2)        Person

 21 U.S.C. 856(a)(1)             Maintaining a Premises for Using and           February 1, 2010                  6s
                                 Distributing Methamphetamine

 21 U.S.C. 853(a)(1)             Criminal Forfeiture                                                   Forfeiture Allegation 1

 21 U.S.C. 853(a)(2)             Criminal Forfeiture                                                   Forfeiture Allegation 2

 18 U.S.C. 924(d)                Criminal Forfeiture                                                   Forfeiture Allegation 3

The defendant is sentenced as provided in the following pages of this judgment.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.



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                                                        Date of Imposition of Sentence: October 12, 2011



                                                        __s/ Richard E. Dorr_____________________
                                                        RICHARD E. DORR
                                                        UNITED STATES DISTRICT JUDGE

                                                        October __17___,2011




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                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 292 MONTHS on Count 1s, 120 MONTHS on Count 2s, 292 MONTHS on Count 3s, 120 MONTHS on
Count 4s, and 240 MONTHS on Count 6s; all to be served concurrently for a total term of imprisonment of 292
MONTHS..

         The Court recommends to the Bureau of Prisons:

         Upon the defendant’s request, it is further recommended that the defendant be designated to an institution for
         participation in the 500-hour residential substance abuse treatment program.


         The defendant is remanded to the custody of the United States Marshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                            __________________________________
                                                                                   UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                     Deputy U.S. Marshal




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                                                        SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years on Count 1s,
3 years on Count 2s, 5 years on Count 3s, 3 years on Count 4s, and 3 years on Count 6s with the terms to run
concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       the defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       the defendant shall support his or her dependents and meet other family responsibilities;

5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       the defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
         any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a
         physician;

8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer;

10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      the defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;


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12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.



                              ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant shall successfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the Probation Office.


2.       The defendant shall submit his person, and any property, house, residence, office, vehicle, papers, computer, other
         electronic communication or data storage devices or media and effects to a search at any time, conducted by a U.S.
         Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
         or evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
         defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.


3.       If the defendant does not earn a GED while incarcerated, he shall provide documentation of participation in GED
         classes while on supervision, and shall provide documentation that he has taken the GED exam.


4.       The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
         participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in compliance
         with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required
         to perform up to 20 hours of community service per week until employed, as approved or directed by the probation
         officer.




                                      ACKNOWLEDGMENT OF CONDITIONS

       I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have
been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




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                                                CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                         Total Fine                                     Total Restitution

                      $500                                                 $0                                                  $0


         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lump sum payment of $500 special assessment which shall be due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

          The preliminary order of forfeiture entered on May 12, 2011, is finalized and imposed. The Court enters a final order
of forfeiture.

         The defendant shall forfeit the defendant’s interest in the following property to the United States:

         A. Forfeiture Allegation One
         1. $2,669.00 seized from the defendant’s person and residence on February 1, 2010;

         B. Forfeiture Allegation Two
         1. a Ruger Vaquero, .45-caliber revolver, serial number 510-17597, seized from the defendant’s residence on or about
         February 1, 2010;
         2. a Mossberg Maverick, Model 88, 12-gauge shotgun, serial number MV12378L, seized from the defendant’s residence on
         or about February 1, 2010;

         C. Forfeiture Allegation Three
         1. a Springfield Armory, 1911-A1, .45-caliber handgun, serial number M500517, seized from the defendant’s vehicle on or
         about December 7, 2009;
         2. a Ruger Vaquero, .45-caliber revolver, serial number 510-17597, seized from the defendant’s residence on or about
         February 1, 2010; and
         3. a Mossberg Maverick, Model 88, 12-gauge shotgun, serial number MV12378L, seized from the defendant’s residence on
         or about February 1, 2010;

         is hereby forfeited to the United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C. §
         853(n).



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution (7) penalties, and (8) costs, including cost of prosecution and court
costs.




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